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Department of
Education
Chancellor Richard A. Carranza




                            NYC Department of Education
                      School-Age Special Education Data Report
                                    November 2, 2020




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  NOTES
    •   This report is presented in accordance with the requirements set forth in Local Law 27 of 2015 (LL27/2015), as
        amended by Local Law 183 of 2017 (LL183/2017), Local Law 89 of 2018 (LL89/2018), and Local Laws 16 and 17 of
        2020 (LL16/2020; LL17/2020).
    •   The report reflects data for students who were enrolled in a New York City Department of Education (DOE) school
        in grades K-12 during School Year (SY) 2019-20 as of the date indicated.
    •   For reporting items disaggregated by district, students enrolled in citywide special education (District 75) or
        alternative (District 79) schools and programs are included in the geographical district where the school or program
        is physically located.
    •   Where the number of students in a category is between zero and 5, the number has been replaced with the
        reference :55. Where disclosure of a number greater than 5 would allow another category to be narrowed to a
        specific number between zero and 5, the number has been reptlaced withthe reference >5. Pursuant to Local Law
        89 of 2018 (LL89/2018), where disclosure of a zero in citywide data would not impact confidentiality of student
        information, the number zero has not been redacted.

The DOE is committed to ensuring that every student receives the services they need in order to thrive academically,
emotionally, and socially. During the pandemic, the DOE's priorities have been to maintain continuity of specialeducation and
related service provision to students with Individualized Education Programs (IEPs), remotely and in-person; and to support
their families in understanding and assisting in the learning process. Since March, the DOE has conducted over 120,000 IEP
meetings remotely; developed and implemented protocols for remote special education assessments; and delivered over 3
million sessions of remote speech-language therapy, occupational therapy, physicaltherapy and counseling. The DOE resumed in-
person related service provision over the summer, ahead of any other major school district in the nation, and continues to seek
to meet every student's needsthrough high quality remote learning and expandedin-person opportunities, while ensuring the
safety of students, families and school personnel.


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Data reports for SY 2019-20 are affected by the closing of school buildings in March, 2020. In addition, substantial new
reporting requirements have been established by Local Laws16 and 17 of 2020. Mostnotably, required reports now include
provision of special education programs disaggregated by program recommendation (special class, integrated co-teaching
(ICT), special education teacher support services (SETSS)}, district, and school; and provision of related services - now
including transportation - by district and school. Reports on special education program and service provision are now
required three times annually, covering different portions of the school year, in addition to the continuing required
November 1 report on aggregate data for the school year.


Release of the first new report, for the period of April 1 through June 30, was due September 1, but was delayed due to
DOE's need to focus data management efforts on support for school reopening. This report includes the data tables
required for the September 1 report, withthe exception that reporting on special education program provision is based on
data from March 16, 2020, prior to the closing of schools due to the pandemic. As of that date, the percentage of students
receiving their recommended special education programs in full was 82.7%. This was ahead of the same point in time for
SY 2018-19, on track to exceed the 84.1% reported as of June 2019. From March through June 2020, 83% of students with
IEPs were recorded as interacting withtheir remote learning program.


As it is based on a point-in-time snapshot, school-level data on special education program delivery is subject to distortion.
Forexample, if a school had a special education teacher go on leave, and a new teacher had not been reflected in the data
system as assigned to the class on the snapshot date, the students of the teacher on leave will all bereported as unserved,
even if they were in fact served for most or all of the school year. Full provision of SETSS is also likely underreported at

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some schools, especially high schools, due to the complexity of data entry for this program. Finally, district-level data is
based on the geographic location of schools, rather than the applicable administrative subdivision of the DOE. As part of
our commitment to greater transparency, and to promote accountability in service of students across the City, the DOE is
reporting data on special education program and related service provision organized by the responsible superintendent, in
addition to geographic district. Reporting by superintendent is not a legal requirement.


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As noted in recent Annual Reports, the DOE is engaged in an intensive effort to resolve the long-term challenge of
providing appropriate services to every student in need of a bilingual special education program. For SY 2019-20, the
DOE increased its offering of bilingual Special Class and Integrated Co-Teaching programs by a net of 18 sections,
targeted to grade levels, languages, and communities with the most need. The DOE also implemented a new bilingual
special education program model, in which students with a bilingual special education IEP recommendation are served by
a certified bilingual teacher, in a class together with students recommended for instruction in English. In SY 2019-20, 230
students were served in these bilingual Mixed Group Classes.

In the past year, the DOEhas taken further substantial steps toward the procurement of a new special education data
management system, designed to enhance program management and reporting overall. The DOEcompleted the first
phase of its Request for Proposal (RFP) process in 2019. The second stage RFP was issued to the remaining vendors in
September 2020.

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The following information is included pursuant to Local Law 16 of 2020:

District 79 is New York City's Alternative Schools District. It serves students, including students with disabilities, through a
variety of alternative programs. These programs serve court-involved youth, studentsserving superintendent suspensions,
students pursuing the High School Equivalency Diploma, studentsreceiving substance abuse and mental/behavioral health
treatment, high school students who are behind in credit or have adult responsibilities that make it hard to attend school
during the day, as well as students seeking career and technical training.

District 79 programs offer special education programs and services through appropriately licensed teachers. The special
education programs, supports and services offered vary substantially among the various settings, and include:
    •     Integrated co-teaching
    •     SETSS
    •     Related Services
    •     Reading Interventions
    •     Behavior Supports

During the spring and summer of 2020, District 79 programs operated remotely, including providing teletherapy, and
remote instruction from general and special education teachers. District 79 programs have resumed in-person instruction
and services this fall through the blended learning model and are providing both in-person and remote instruction.

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                                                                   SY 2019-20
                                                                Students with IEPs
                                                                                      I I




                                                                                                                                                  --
                                      Xon-ELL                                                                     ELL
                       Lan a e of Insh·uction                         Non-                       Lan ua e of Instruction                      Total
Race/                                                                                                                                                    Total
Ethnicity    ENGLISH      SPANISH      CHINESE        OTHER           ELL            ENGLISH         SPANISH      CHINESE         OTHER   •   EL        Register
Asian          10,320           22          122           26           10,490            4,045            10          980           280
Black          51 985          102            5           >5           52108             1 235            25            5            >5        1 360
Hispanic       69 682        1 224            0           14           70 920           20 605         6 386            5            >5       27 0         5346
White          24,194           >5           5            33           24,276            2,139            53           20           337        2,58
Other          4,022             5            5            5            4,034              186            13            5            >5          221        4,255
Total        160,203         1,400          129           96          161,828           28,210         6,487        1,014           758       36,469      198,297




                                                                           SY 2019-20




                                                                           Non-                                                               Total
                ENGLISH     SPANISH        HINESE       OTHER              ELL          ENGLISH        SPANISH      CHINESE        OTHER      ELL
                 127,367           1,271        105            79          128,822          26,123        6,112             911      647      33,793




                                                               17           33,006           2,087          375            103       111        2,676      35,682

                                                               96          161,828          28,210        6,487         1,014        758      36,469      198,297




                                                                       SY 2019-20
                                                                    Students with IEPs

                                     Xon-ELL                                                                      ELL
                                                                       I   :
                       Lan ua e of Instruction
                                                                     Non-                                                                  T,otal        Total
Gende1·     ENGLISH      SPANISH      CHINESE         OTHER          ELL          ENGLISH         SPANISH        CHINESE          OTHER   • EL          Register
Female        54 544          502           42            32          55120             9387           2 269          273           258       mmDIIIIIIIIDm:I
:\Iale       105 659          898           87            64         106 708           18 823          4 218          741           500       24 282      130 990
Total        160,203        1,400          129            96         161,828           28,210          6,487        1,014           758       36,469      198,297




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